                       UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN (DETROIT)

In Re:

Windy Meadows                                      Case No. 22-48415-mlo
                                                   Chapter 13 Case
                                                   Hon. Maria L. Oxholm

                  Debtor.
________________________________

             DEBTOR’S OBJECTION TO CLAIM #2 OF DARRYL BEAVERS

   1. The Debtor filed for Chapter 13 relief on October 26, 2022. This matter is currently
      scheduled for confirmation on May 15, 2023.

   2. On or about November 9, 2022, Darryl Beavers filed Claim #2 in the amount of
      $281,250.00.

   3. The filed claim is just a state court default judgment in the amount of $281,250.00.

   4. The claim does not substantially conform to the appropriate Official Form, contrary to
      Fed. R. Bankr. P. 3001(a).

   5. The Claim does not contain a notice or payment address listed and the type of
      claim is not specified, which thwarts claim administration.

   6. Additionally, the claim is not properly signed and dated, contrary to Fed. R. Bankr. P
      9011(a) and 5006(a)(2)(C).

   7. As such, the Trustee is unable to administer the claim.


WHEREFORE, the Debtor requests the Claim #2 be disallowed in its entirety.

Dated: January 16, 2023                                    /s/ Michael T. Brown (P71385)
                                                           MICHAEL T. BROWN (P71385)
                                                           Acclaim Legal Services, P.L.L.C.
                                                           8900 E. Thirteen Mile Road
                                                           Warren, MI 48093
                                                           248-443-7033
                                                           filing@acclaimlegalservices.com




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Windy Meadows                                       Case No. 22-48415-mlo
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  ORDER GRANTING DEBTOR’S OBJECTION TO CLAIM #2 OF DARRYL BEAVERS

        The Debtor’s Objection to the allowance of the Proof of Claim #2 by Darryl Beavers and
service having been with a notice of hearing allowing a thirty (30) day notice pursuant to
Bankruptcy Rule 3007, that more than seven (7) days before the hearing date on Trustee’s
objection have elapsed and no written response to the Trustee’s Objection have been timely filed
and served; that pursuant to E.D. Mich. L.B.R. 3007-1(c) this Court may deem that the creditor
consents to the relief requested in the objection;

       IT IS HEREBY ORDERED THAT: The objection to the Proof of Claim filed by the
Debtor is hereby granted. To the extent that the Chapter 13 Standing Trustee has previously
made disbursements to such creditor, the Trustee shall not be obligated to recoup same.

       IT IS FURTHER ORDERED that the claim of Darryl Beavers, PACER CLAIM #2 filed
on or about November 9, 2022 shall be disallowed.




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Windy Meadows                                         Case No. 22-48415-mlo
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                  Debtor.
________________________________

         NOTICE OF OBJECTION TO DARRYL BEAVERS, PACER CLAIM #2

         The Debtor has filed an objection to your claim in this bankruptcy case.

        Your claim may be reduced, modified, or disallowed. You should read these papers
carefully and discuss them with your attorney, if you have one.

       If you do not want the court to deny or change your claim, then on or before MARCH 6,
2023, YOU OR YOUR LAWYER MUST:

         1. File with the court a written response to the objection, explaining your
            position, at: U.S. Bankruptcy Court, 211 W. Fort Street Detroit, MI 48226

        If you mail your response to the Court for filing, you must mail it early enough so that the
court will receive it on or before the date stated above. All attorneys are required to file pleadings
electronically.

         You must also mail a copy to:
         ACCLAIM LEGAL SERVICES, PLLC, 8900 E 13 MILE RD, WARREN, MI 48093
         DAVID WM. RUSKIN, 26555 Evergreen, Ste. 1100, Southfield, MI 48076

         2. Attend the hearing on the objection, scheduled to be held on Monday, March 13,
2023 at 1:30 PM in Judge Oxholm's Courtroom 1875, 211 W. Fort St., Detroit, Michigan
48226, unless your attendance is excused by mutual agreement between yourself and the
objector’s attorney. (Unless the matter is disposed of summarily as a matter of law, the hearing
shall be a pre-trial conference only; neither testimony nor other evidence will be received. A pre-
trial scheduling order may be issued as a result of the pre-trial conference.)

        If you or your attorney do not take these steps, the Court may deem that you do not
oppose the objection to your claim, in which event the hearing will be canceled, and the
objection sustained.




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Dated: January 16, 2023                              /s/ Michael T. Brown (P71385)
                                                     MICHAEL T. BROWN (P71385)
                                                     Acclaim Legal Services, P.L.L.C.
                                                     8900 E. Thirteen Mile Road
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                                  CERTIFICATE OF MAILING

       I hereby certify that on the date indicated below, copies of DEBTOR’S OBJECTION TO
PROOF OF CLAIM OF DARRYL BEAVERS, PACER Claim #2 and NOTICE OF
OBJECTION TO CLAIM, and proposed order were served via Electronic Court Filing and/or
mailed to the parties at the stated addresses below.

         Darryl Beavers
         c/o Anthony Kahn, Esq.
         33110 Grand River Ave.
         Farmington, MI 48336

         Darryl Beavers
         c/o Jordan Vahdat, Esq.
         17197 N. Laurel Parke, Ste. 500
         Livonia, MI 48152


Dated: January 16, 2023                                 /s/ Deanna Runde
                                                        Deanna Runde
                                                        Acclaim Legal Services, P.L.L.C.
                                                        8900 E. Thirteen Mile Road
                                                        Warren, MI 48093
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